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                                      UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                           www.flsb.uscourts.gov
                                                      CHAPTER 13 PLAN (Individual Adjustment of Debts)

                              II                                            Original Plan

                              □                                             Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                              □                                             Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

    DEBTOR: Duniel Marin Bernal                               JOINT DEBTOR:                                          CASE NO.:

     SS#: xxx-xx- 8359                                           SS#: xxx-xx-

    I.           NOTICES

                 To Debtors:           Plans that do not comply with local rules and judicial rulings may not be conflrmable. All plans, amended plans and
                                       modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                       Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                       the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:         Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                       be reduced, modified or eliminated.
                 To All Parties:       The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                        on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                     □     Included           [■]   Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                     r~l   Included           [■]   Not included
         out in Section III

         Nonstandard provisions, set out in Section IX                                                                     Included           r~l   Not included
    II.         PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY’S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.    $1.923.81             for months    1    to 60      ;

                B.      DEBTORfSV ATTORNEY'S FEE;                                           □ NONE    □ PRO BONO
             Total Fees:                $5,200.00          Total Paid:                $2,500.00         Balance Due:           $2,700.00

             Payable _             $1,350.00        /month (Months     1     to 2_ )
             Allowed fees under LR 2016-1(B)(2) are itemized below:
             Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS                           □ NONE
                A.      SECURED CLAIMS;             [1 NONE
                B.      VALUATION OF COLLATERAL;                  d NONE
                        IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                         SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                        YOU PURSUANT TO BR 7004 AND LR 3015-3.

                         1. REAL PROPERTY: ® NONE
                        2. VEHICLES(S): ® NONE
                        3. PERSONAL PROPERTY: 1] NONE
                 C.     LIEN AVOIDANCE ® NONE
                 D.     SURRENDER OF COLLATERAL:                      d NONE


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              E. DIRECT PAYMENTS                  □ NONE
              Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                  The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                  confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                  codebtor(s)as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                              Name of Creditor              Last 4 Digits of Account No. Description of Collateral tAddress. Vehicle, etc,")
                              Space Coast Credit Union       1273                                 2023 Hyundai Elantra

IV.           TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                  [■] NONE
V.            TREATMENT OF UNSECURED N0NI*R10RITY CREDITORS                                          □ NONE
                A. Pay               S336.43     /month (Months            I   to 2    )
                        Pay        51,686.43     /month (Months        3       to 60 )
                        Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

                B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                C. SEPARATELY CLASSIFIED:                     \m\ NONE
VI.           STUDENT LOAN PROGRAM                       □ NONE
         A.      FEDERAL - Direct Pay                    [■] None
         B.      PRIVATE-Paid in the Chapter 13 Plan                @ None
VII.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                         g] NONE
VIII.         INCOME TAX RETURNS AND REFUNDS:

                      g] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.           NON-STANDARD PLAN PROVISIONS □ NONE
              g] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                 Form or deviating from it. Nonstandard provisions set out elsewhere in this plan arc void.
                     Confirmationof the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                     before confirmation.

              []] Mortgage Modification Mediation


                          PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

     1 declare that the foregoing chapter 13 plan is true and correct under penalty of perjuity.

                              /
                                                 Debtor                                                                  Joint Debtor
                0-
                                                                                                                                                Date
/^^niel Marin Bernal                                                 Date




 /s/ Jose A. Blanco. Esq.
                                                                    Date
      Attorney with permission to sign on
       Debtor(s)' behalf who certifies that
       the contents of the plan have been
         reviewed and approved by the
                                     1
                        Debtor(s).

     By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
     order of tlie provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
     contains no nonstandard provisions othei- than those set out in paragraph IX.

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'This certification requirement applies even if the Dcbtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf




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